Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 1 of 121            FILED
                                                                   2023 Jun-15 AM 11:13
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




           EXHIBIT A
                                                        DOCUMENT 1
                                                                         ELECTRONICALLY
                   Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 25/16/2023      FILED
                                                                             of 121 10:40 AM
                                                                                                              01-CV-2023-901653.00
State of Alabama                                                                            Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                               JEFFERSON COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                            01-CV-2023-901653.00
                                                                                              JACQUELINE ANDERSON SMITH, CLERK
                                      (Not For Domestic Relations Cases)                    Date of Filing:            Judge Code:
Form ARCiv-93      Rev. 9/18
                                                                                            05/16/2023

                                               GENERAL INFORMATION
                               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                 JOHNNIE WINSTON BUSBY ET AL v. 3M COMPANY ET AL

First Plaintiff:       Business        Individual             First Defendant:         Business                Individual
                       Government      Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                               OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                  MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                    Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                       CVRT - Civil Rights
     TOWA - Wantonness                                      COND - Condemnation/Eminent Domain/Right-of-Way

     TOPL - Product Liability/AEMLD                         CTMP - Contempt of Court

     TOMM - Malpractice-Medical                             CONT - Contract/Ejectment/Writ of Seizure

     TOLM - Malpractice-Legal                               TOCN - Conversion

     TOOM - Malpractice-Other                               EQND - Equity Non-Damages Actions/Declaratory Judgment/
                                                                   Injunction Election Contest/Quiet Title/Sale For Division
     TBFM - Fraud/Bad Faith/Misrepresentation
                                                            CVUD - Eviction Appeal/Unlawful Detainer
     TOXX - Other:
                                                            FORJ - Foreign Judgment
                                                            FORF - Fruits of Crime Forfeiture
TORTS: PERSONAL INJURY
                                                            MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TOPE - Personal Property
                                                            PFAB - Protection From Abuse
     TORE - Real Properly
                                                            EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS                                         QTLB - Quiet Title Land Bank
     ABAN - Abandoned Automobile                            FELA - Railroad/Seaman (FELA)
     ACCT - Account & Nonmortgage                           RPRO - Real Property
     APAA - Administrative Agency Appeal                    WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ADPA - Administrative Procedure Act                    COMP - Workers’ Compensation
     ANPS - Adults in Need of Protective Service            CVXX - Miscellaneous Circuit Civil Case

ORIGIN:      F       INITIAL FILING                    A       APPEAL FROM                               O       OTHER
                                                               DISTRICT COURT

             R       REMANDED                          T       TRANSFERRED FROM
                                                               OTHER CIRCUIT COURT

                                                                    Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                  YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     MONETARY AWARD REQUESTED                    NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        CAD010                                 5/16/2023 10:40:04 AM                                 /s/ GREGORY A. CADE
                                           Date                                              Signature of Attorney/Party filing this form


MEDIATION REQUESTED:                           YES    NO      UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                     YES      NO
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    Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 35/16/2023      FILED
                                                              of 121 10:40 AM
                                                               01-CV-2023-901653.00
                                                               CIRCUIT COURT OF
                                                          JEFFERSON COUNTY, ALABAMA
                                                       JACQUELINE ANDERSON SMITH, CLERK
                        IN THE CIRCUIT COURT
                   FOR THE TENTH JUDICIAL CIRCUIT
                    JEFFERSON COUNTY, ALABAMA

JOHNNIE WINSTON BUSBY;
GEROLD A. ABBOTT;
RUSSELL ACKERMAN;
JOHN ADLESIC;                        Civil Action No:_______________________
KENNETH ALLEN;
JAMES R. ALMAND;
NEAL ALMOND;
MICHAEL JAMES ALSPAUGH;              COMPLAINT AND
DAVID MICHAEL ALVAREZ;               JURY DEMAND
EDWARD AMESCUA;
ISLAAM AMIN;
CODY ANDERSON;
FRED ANDERSON;
VICTOR T. ANDERSON;
ROBERT ANTHONY;
BRADFORD ARBOGAST;
JAMES ARENA III;
RON ARMSTRONG;
JOHN ARNOLD;
THOMAS JOHN ARNOLD;
WILLIAM RENE ARNOLD;
FRANCISCO ARRIOLA;
STEPHEN FRANKLIN ATTERTON;
ANTHONY ATWELL;
RICHARD AUGHE;
ANTHONY WAYNE AVANZATO;
WILLIAM TED AVELALLEMANT;
ROBERT AVIS;
LUIS AYALA;
ISAAC BAILEY JR.;
CLIFFORD HERBERT BAKER;
DARRELL BAKER;
PIERRE EDWARD BAKER;
DARRELL LAVREN BALDWIN;
ANTHONY L BALLAIN;
MICHAEL SEAN BARRETT;
RAYMOND BARRON;
RYAN CARR BARTLETT;
ROBERT DEAN BARTOLOMEI;
PAUL JOSEPH BASIC SR;
HAROLD BATES;
KELVIN DONNELL BATTLE SR.;
                              DOCUMENT 2
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CLAY BAYS;
PAUL BEALE;
ROBERT E BEALS;
JENNIFER BEARCUB;
SCOTT H BEHM SR;
LOYD N. BELGARDE;
THOMAS BELLANICH;
TIMOTHY JON BENDEKOVIC;
JAMES ALLEN BENNETT;
JOHN S. BENNETT;
RUSSELL SCOTT BENNETT;
STEPHEN M. BENNETT;
WILLIAM PAUL BENTLEY;
CLIFFORD J. BERGEN;
JOSEPH M. BERKERY;
QUILL CHARLES BERRY JR;
ROBERT ALLEN BERTRAM;
MARK E. BEST III;
BRUCE CRAIG BEVINGTON;
JAMES FELIX BINKOWSKI;
PAMELA ALLISON BISHOP;
WILLIAM J. BISIGNANO III;
DOUGLAS PAUL BLACK;
CHRIS DAVID BLACKBURN;
RICHARD F. BLACKFORD;
LORI KATHLEEN BLACKSHEAR;
MARSHAUN JEROME BLAKE SR;
ALZINA MARIE BLANCHARD;
ROBERT BOGDAN;
DON BONAL;
MARK MICHAEL BONSANTI;
RONALD LEON BOOTH JR.;
PEDRO ANTONIO BOTELLO;
LAWRENCE GARY BOUNTY;
HARVARD BOURQUE;
KEVIN LEE BOWLING;
FRANK WILLIAM BOYD;
DURELL BRANN;
MARY BRANNON;
NEAL DAVID BRASFIELD;
JOSEPH BRASWELL;
WILLIE R. BRAXTON;
WILLIAM MICHAEL BREEDEN SR.;
MILTON RAY BREES;
CLAUDE JARVIS BREHON;
MARK OSCAR BREITKREUTZ;

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JEFFERY BRIDGES;
MICHAEL JAMES BRIGLIA;
JOHN P. BRINKLEY JR.;
SCOTT BROOKES;
JOSHUA BROOME;
HERBERT LAWRENCE BROUGHTON
JR.;
DAVID BROUSSARD;
CURTIS BROWN;
FLOYD BROWN;
JASON BROWN;
JEROME BROWN;
JOHNNIE LEE BROWN;
SAMUEL ANTONIO BROWN;
TIMOTHY J. BROWN;
VINCENT PAUL BROWN;
WEBB BROWN;
DEAN BRUCH;
GEORGE L. BRZECZEK;
RAFAEL EUGENE BUENO;
BRADLEY BUHR;
MICHAEL BURDYCH;
PETER J BURGERT;
RICHARD ERIC BURKS;
SALVATORE A D BURRELLO;
JAMES BURRIS;
GARY ERVIN BURRISS;
KEITH BURSEY;
MATTHEW W. BUSS;
EDWARD JAMES BUTLER;
CLARENCE BYNES JR;
LARRY MURYL BYRGE;
JOHN ROBERT CAHILL;
GEORGE R. CALDWELL JR.;
PAUL W. CALLAHAN;
STEPHEN J. CALLAHAN;
ERIC MITCHELL CAMPBELL;
MICHAEL W. CAMPBELL;
TERRANCE D. CAMPBELL;
WILLIAM CAMPBELL;
GERARDO CANTU;
LEE FORREST CAPPIS;
EDWIN J. CARAZO JR.;
WILLIAM CARDINAL;
DOUGLAS CARLSON,



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              Plaintiffs,

v.

3M COMPANY (f/k/a Minnesota
Mining and Manufacturing Company);
AGC CHEMICALS AMERICAS INC.;
AMEREX CORPORATION;
ARCHROMA U.S. INC.;
ARKEMA, INC.;
BASF CORPORATION;
BUCKEYE FIRE EQUIPMENT
COMPANY;
CARRIER GLOBAL CORPORATION;
CHEMDESIGN PRODUCTS, INC.;
CHEMGUARD, INC.;
CHEMICALS, INC.;
CHEMOURS COMPANY FC, LLC;
CLARIANT CORP.;
CORTEVA, INC.;
DEEPWATER CHEMICALS, INC.;
DU PONT DE NEMOURS INC. (f/k/a
DOWDUPONT INC.);
DYNAX CORPORATION;
E.I. DU PONT DE NEMOURS AND
COMPANY;
KIDDE PLC;
NATION FORD CHEMICAL
COMPANY;
NATIONAL FOAM, INC.;
THE CHEMOURS COMPANY;
TYCO FIRE PRODUCTS LP, as
successor-in-interest to The Ansul
Company;
UNITED TECHNOLOGIES
CORPORATION;
UTC FIRE & SECURITY AMERICAS
CORPORATION, INC. (f/k/a GE
Interlogix, Inc.);
ALLSTAR FIRE EQUIPMENT;
FIRE-DEX, LLC;
GLOBE MANUFACTURING COMPANY
LLC;
HONEYWELL SAFETY PRODUCT USA,
INC.;
LION GROUP, INC.;

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 MALLORY SAFETY AND SUPPLY
 LLC;
 MINE SAFETY APPLIANCES CO., LLC;
 MUNICIPAL EMERGENCY SERVICES,
 INC.;
 PBI PERFORMANCE PRODUCTS, INC.;
 SOUTHERN MILLS, INC.;
 STEDFAST USA, INC.;
 W.L. GORE & ASSOCIATES INC.,

                    Defendants.



                                          COMPLAINT
       COMES NOW, the Plaintiffs, by and through undersigned counsel, and allege upon

information and belief as follows:

                                        INTRODUCTION

1.     Plaintiffs bring this action for damages for personal injury resulting from exposure to

aqueous film-forming foams (“AFFF”) and firefighter turnout gear (“TOG”) containing the toxic

chemicals collectively known as per and polyfluoroalkyl substances (“PFAS”). PFAS includes,

but is not limited to, perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic acid (“PFOS”)

and related chemicals including those that degrade to PFOA and/or PFOS.

2.     AFFF is a specialized substance designed to extinguish petroleum-based fires. It has been

used for decades by military and civilian firefighters to extinguish fires in training and in response

to Class B fires.

3.     TOG is personal protective equipment designed for heat and moisture resistance in order

to protect firefighters in hazardous situations. Most turnout gear is made up of a thermal liner,

moisture barrier, and an outer layer. The inner layers contain PFAS, and the outer layer is often

treated with additional PFAS.



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4.      Defendants collectively designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold, and/or otherwise released

into the stream of commerce AFFF or TOG with knowledge that it contained highly toxic and bio

persistent PFAS, which would expose end users of the product to the risks associated with PFAS.

Further, defendants designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF or TOG which contained PFAS for use in

firefighting.

5.      PFAS binds to proteins in the blood of humans exposed to the material and remains and

persists over long periods of time. Due to their unique chemical structure, PFAS accumulates in

the blood and body of exposed individuals.

6.      PFAS are highly toxic and carcinogenic chemicals. Defendants knew, or should have

known, that PFAS remain in the human body while presenting significant health risks to humans.

7.      Defendants’ PFAS-containing AFFF or TOG products were used by the Plaintiffs in their

intended manner, without significant change in the products’ condition. Plaintiffs were unaware

of the dangerous properties of the Defendants’ AFFF or TOG products and relied on the

Defendants’ instructions as to the proper handling of the products. Plaintiffs’ consumption,

inhalation and/or dermal absorption of PFAS from Defendant’s AFFF or TOG products caused

Plaintiffs to develop the serious medical conditions and complications alleged herein.

8.      Through this action, Plaintiffs seek to recover compensatory and punitive damages arising

out of the permanent and significant damages sustained as a direct result of exposure to

Defendants’ AFFF or TOG products at various locations during the course of Plaintiffs’ training




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and firefighting activities. Plaintiffs further seek injunctive, equitable, and declaratory relief

arising from the same.

                                 JURISIDICTION AND VENUE

9.     The Defendants are subject to the jurisdiction of this Court on the grounds that (a) one or

more of the Defendants is a foreign corporation whose principal place of business is located in the

State of Alabama; (b) one or more of the Defendants are foreign corporations that either are

registered to conduct business in the State of Alabama and have actually transacted business in

Alabama; and/or (c) one or more of the Defendants is a domestic corporation native to the State of

Alabama.

10.    Venue is proper pursuant to Alabama Code Section 6-3-7 as significant events resulting in

the cause of action and subsequent injuries occurred in this county.

11.    Joinder of all parties is proper pursuant to Rule 20(a) of the Alabama Rules of Civil

Procedure. Defendants are permissively joined in this action because the exposure, injuries, and

relief requested all arise out of similar occurrences or transactions and questions of law and fact

are common to all parties.

                                             PARTIES

12.    Plaintiff Johnnie Winston Busby is a resident and citizen of Henagar, Alabama. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

13.    Plaintiff Johnnie Winston Busby was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.




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14.    Plaintiff Gerold A. Abbott is a resident and citizen of Salem, Oregon. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

15.    Plaintiff Gerold A. Abbott was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

16.    Plaintiff Russell Ackerman is a resident and citizen of Palmetto, Florida. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

17.    Plaintiff Russell Ackerman was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

18.    Plaintiff John Adlesic is a resident and citizen of Pittsburgh, Pennsylvania. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

19.    Plaintiff John Adlesic was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

20.    Plaintiff Kenneth Allen is a resident and citizen of Antioch, California. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

21.    Plaintiff Kenneth Allen was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

22.    Plaintiff James R. Almand is a resident and citizen of Pipe Creek, Texas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.



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23.    Plaintiff James R. Almand was diagnosed with ulcerative colitis as a result of exposure to

Defendants’ AFFF or TOG products.

24.    Plaintiff Neal Almond is a resident and citizen of Coos Bay, Oregon. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

25.    Plaintiff Neal Almond was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

26.    Plaintiff Michael James Alspaugh is a resident and citizen of Traverse City, Michigan.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

27.    Plaintiff Michael James Alspaugh was diagnosed with lymphoma as a result of exposure

to Defendants’ AFFF or TOG products.

28.    Plaintiff David Michael Alvarez is a resident and citizen of Montague, California. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

29.    Plaintiff David Michael Alvarez was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

30.    Plaintiff Edward Amescua is a resident and citizen of Newman, California. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

31.    Plaintiff Edward Amescua was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.




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32.    Plaintiff Islaam Amin is a resident and citizen of Cypress, Texas. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

33.    Plaintiff Islaam Amin was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

34.    Plaintiff Cody Anderson is a resident and citizen of Nephi, Utah. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

35.    Plaintiff Cody Anderson was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

36.    Plaintiff Fred Anderson is a resident and citizen of Granbury, Texas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

37.    Plaintiff Fred Anderson was diagnosed with bladder cancer as a result of exposure to

Defendants’ AFFF or TOG products.

38.    Plaintiff Victor T. Anderson is a resident and citizen of Kennesaw, Georgia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

39.    Plaintiff Victor T. Anderson was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

40.    Plaintiff Robert Anthony is a resident and citizen of Chesapeake, Virginia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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41.    Plaintiff Robert Anthony was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

42.    Plaintiff Bradford Arbogast is a resident and citizen of King George, Virginia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

43.    Plaintiff Bradford Arbogast was diagnosed with liver cancer as a result of exposure to

Defendants’ AFFF or TOG products.

44.    Plaintiff James Arena III is a resident and citizen of Purdys, New York. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

45.    Plaintiff James    Arena III was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

46.    Plaintiff Ron Armstrong is a resident and citizen of Carthage, Texas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

47.    Plaintiff Ron Armstrong was diagnosed with kidney cancer as a result of exposure to

Defendants’ AFFF or TOG products.

48.    Plaintiff John Arnold is a resident and citizen of Chesapeake, Virginia. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

49.    Plaintiff John Arnold was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.




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50.    Plaintiff Thomas John Arnold is a resident and citizen of Monroe, Connecticut. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

51.    Plaintiff Thomas John Arnold was diagnosed with chronic myeloid leukemia as a result

of exposure to Defendants’ AFFF or TOG products.

52.    Plaintiff William Rene Arnold is a resident and citizen of San Antonio, Texas. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

53.    Plaintiff William Rene Arnold was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

54.    Plaintiff Francisco Arriola is a resident and citizen of Missouri City, Texas. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

55.    Plaintiff Francisco Arriola was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

56.    Plaintiff Stephen Franklin Atterton is a resident and citizen of Whitwell, Tennessee.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

57.    Plaintiff Stephen Franklin Atterton was diagnosed with ulcerative colitis as a result of

exposure to Defendants’ AFFF or TOG products.

58.    Plaintiff Anthony Atwell is a resident and citizen of Prattville, Alabama. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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59.    Plaintiff Anthony Atwell was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

60.    Plaintiff Richard Aughe is a resident and citizen of Mount Vernon, Missouri. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

61.    Plaintiff Richard Aughe was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

62.    Plaintiff Anthony Wayne Avanzato is a resident and citizen of Boise, Idaho. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

63.    Plaintiff Anthony Wayne Avanzato was diagnosed with lymphoma as a result of exposure

to Defendants’ AFFF or TOG products.

64.    Plaintiff William Ted AveLallemant is a resident and citizen of Deerbrook, Wisconsin.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

65.    Plaintiff William Ted AveLallemant was diagnosed with leukemia as a result of exposure

to Defendants’ AFFF or TOG products.

66.    Plaintiff Robert Avis is a resident and citizen of Fostoria, Ohio. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

67.    Plaintiff Robert Avis was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.




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68.    Plaintiff Luis Ayala is a resident and citizen of Plano, Texas. Plaintiff regularly used, and

was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

69.    Plaintiff Luis Ayala was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

70.    Plaintiff Isaac Bailey Jr. is a resident and citizen of Brooksville, Florida. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

71.    Plaintiff Isaac Bailey Jr. was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

72.    Plaintiff Clifford Herbert Baker is a resident and citizen of Piqua, Ohio. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

73.    Plaintiff Clifford Herbert Baker was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

74.    Plaintiff Darrell Baker is a resident and citizen of Covington, Georgia. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

75.    Plaintiff Darrell Baker was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

76.    Plaintiff Pierre Edward Baker is a resident and citizen of Elizabeth City, North Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.



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77.    Plaintiff Pierre Edward Baker was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

78.    Plaintiff Darrell Lavren Baldwin is a resident and citizen of Fort Lupton, Colorado.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

79.    Plaintiff Darrell Lavren Baldwin was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

80.    Plaintiff Anthony L Ballain is a resident and citizen of Holdrege, Nebraska. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

81.    Plaintiff Anthony L Ballain was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

82.    Plaintiff Michael Sean Barrett is a resident and citizen of Palmyra, Virginia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

83.    Plaintiff Michael Sean Barrett was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

84.    Plaintiff Raymond Barron is a resident and citizen of Montgomery, West Virginia.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

85.    Plaintiff Raymond Barron was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.




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86.    Plaintiff Ryan Carr Bartlett is a resident and citizen of Manchester, New Hampshire.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

87.    Plaintiff Ryan Carr Bartlett was diagnosed with kidney cancer as a result of exposure to

Defendants’ AFFF or TOG products.

88.    Plaintiff Robert Dean Bartolomei is a resident and citizen of Round Mountain, California.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

89.    Plaintiff Robert Dean Bartolomei was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

90.    Plaintiff Paul Joseph Basic Sr is a resident and citizen of Chicago, Illinois. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

91.    Plaintiff Paul Joseph Basic Sr was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

92.    Plaintiff Harold Bates is a resident and citizen of Shelley, Idaho. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

93.    Plaintiff Harold Bates was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

94.    Plaintiff Kelvin Donnell Battle Sr. is a resident and citizen of Ellenwood, Georgia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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95.    Plaintiff Kelvin Donnell Battle Sr. was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

96.    Plaintiff Clay Bays is a resident and citizen of Santee, California. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

97.    Plaintiff Clay Bays was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

98.    Plaintiff Paul Beale is a resident and citizen of Kemp, Texas. Plaintiff regularly used, and

was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

99.    Plaintiff Paul Beale was diagnosed with leukemia as a result of exposure to Defendants’

AFFF or TOG products.

100.   Plaintiff Robert E Beals is a resident and citizen of Marshall, Michigan. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

101.   Plaintiff Robert E Beals was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

102.   Plaintiff Jennifer Bearcub is a resident and citizen of Poplar, Montana. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

her working career as a military and/or civilian firefighter.

103.   Plaintiff Jennifer Bearcub was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.




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104.   Plaintiff Scott H Behm Sr is a resident and citizen of Virginia Beach, Virginia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

105.   Plaintiff Scott H Behm Sr was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

106.   Plaintiff Loyd N. Belgarde is a resident and citizen of Cordova, Alaska. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

107.   Plaintiff Loyd N. Belgarde was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

108.   Plaintiff Thomas Bellanich is a resident and citizen of Ketchikan, Alaska. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

109.   Plaintiff Thomas Bellanich was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

110.   Plaintiff Timothy Jon Bendekovic is a resident and citizen of Pensacola, Florida. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

111.   Plaintiff Timothy Jon Bendekovic was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

112.   Plaintiff James Allen Bennett is a resident and citizen of Latham, New York. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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113.   Plaintiff James Allen Bennett was diagnosed with thyroid disease as a result of exposure

to Defendants’ AFFF or TOG products.

114.   Plaintiff John S. Bennett is a resident and citizen of Jonesville, Indiana. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

115.   Plaintiff John S. Bennett      was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

116.   Plaintiff Russell Scott Bennett is a resident and citizen of Estero, Florida. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

117.   Plaintiff Russell Scott Bennett was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

118.   Plaintiff Stephen M. Bennett is a resident and citizen of Middletown, Delaware. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

119.   Plaintiff Stephen M. Bennett was diagnosed with chronic lymphocytic leukemia as a result

of exposure to Defendants’ AFFF or TOG products.

120.   Plaintiff William Paul Bentley is a resident and citizen of Tucson, Arizona. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

121.   Plaintiff William Paul Bentley was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.




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122.   Plaintiff Clifford J. Bergen is a resident and citizen of Hawkins, Texas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

123.   Plaintiff Clifford J. Bergen was diagnosed with pancreatic cancer as a result of exposure

to Defendants’ AFFF or TOG products.

124.   Plaintiff Joseph M. Berkery is a resident and citizen of Cohoes, New York. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

125.   Plaintiff Joseph M. Berkery was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

126.   Plaintiff Quill Charles Berry Jr is a resident and citizen of Hattiesburg, Mississippi.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

127.   Plaintiff Quill Charles Berry Jr was diagnosed with chronic myeloid leukemia as a result

of exposure to Defendants’ AFFF or TOG products.

128.   Plaintiff Robert Allen Bertram is a resident and citizen of Milwaukee, Wisconsin. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

129.   Plaintiff Robert Allen Bertram was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

130.   Plaintiff Mark E. Best III is a resident and citizen of Vidor, Texas. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.



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131.   Plaintiff Mark E. Best III was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

132.   Plaintiff Bruce Craig Bevington is a resident and citizen of Scio, Oregon. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

133.   Plaintiff Bruce Craig Bevington was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

134.   Plaintiff James Felix Binkowski is a resident and citizen of Weston, Wisconsin. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

135.   Plaintiff James Felix Binkowski was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

136.   Plaintiff Pamela Allison Bishop is a resident and citizen of Kenosha, Wisconsin. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during her working career as a military and/or civilian firefighter.

137.   Plaintiff Pamela Allison Bishop was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

138.   Plaintiff William J. Bisignano III is a resident and citizen of Shawboro, North Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

139.   Plaintiff William J. Bisignano III was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.




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140.   Plaintiff Douglas Paul Black is a resident and citizen of Chickasha, Oklahoma. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

141.   Plaintiff Douglas Paul Black was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

142.   Plaintiff Chris David Blackburn is a resident and citizen of Newton, North Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

143.   Plaintiff Chris David Blackburn was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

144.   Plaintiff Richard F. Blackford is a resident and citizen of Redding, California. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

145.   Plaintiff Richard F. Blackford was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

146.   Plaintiff Lori Kathleen Blackshear is a resident and citizen of Fort Worth, Texas. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during her working career as a military and/or civilian firefighter.

147.   Plaintiff Lori Kathleen Blackshear was diagnosed with lymphoma as a result of exposure

to Defendants’ AFFF or TOG products.

148.   Plaintiff Marshaun Jerome Blake Sr is a resident and citizen of Austell, Georgia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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149.   Plaintiff Marshaun Jerome Blake Sr was diagnosed with non-hodgkin's lymphoma as a

result of exposure to Defendants’ AFFF or TOG products.

150.   Plaintiff Alzina Marie Blanchard is a resident and citizen of Bayard, New Mexico. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during her working career as a military and/or civilian firefighter.

151.   Plaintiff Alzina Marie Blanchard was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

152.   Plaintiff Robert Bogdan is a resident and citizen of North Las Vegas, Nevada. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

153.   Plaintiff Robert    Bogdan     was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

154.   Plaintiff Don Bonal is a resident and citizen of Cantonment, Florida. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

155.   Plaintiff Don Bonal was diagnosed with ulcerative colitis as a result of exposure to

Defendants’ AFFF or TOG products.

156.   Plaintiff Mark Michael Bonsanti is a resident and citizen of Staten Island, New York.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

157.   Plaintiff Mark Michael Bonsanti was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.




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158.   Plaintiff Ronald Leon Booth Jr. is a resident and citizen of Bunnell, Florida. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

159.   Plaintiff Ronald Leon Booth Jr. was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

160.   Plaintiff Pedro Antonio Botello is a resident and citizen of Toppenish, Washington.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

161.   Plaintiff Pedro Antonio Botello was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

162.   Plaintiff Lawrence Gary Bounty is a resident and citizen of Pahrump, Nevada. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

163.   Plaintiff Lawrence Gary Bounty was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

164.   Plaintiff Harvard Bourque is a resident and citizen of Pleasant Plain, Ohio. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

165.   Plaintiff Harvard Bourque was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

166.   Plaintiff Kevin Lee Bowling is a resident and citizen of Pisgah Forest, North Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.



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167.   Plaintiff Kevin Lee Bowling was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

168.   Plaintiff Frank William Boyd is a resident and citizen of Winter Garden, Florida. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

169.   Plaintiff Frank William Boyd was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

170.   Plaintiff Durell Brann is a resident and citizen of Stratton, Maine. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

171.   Plaintiff Durell Brann was diagnosed with ulcerative colitis as a result of exposure to

Defendants’ AFFF or TOG products.

172.   Plaintiff Mary Brannon is a resident and citizen of Warner Robins, Georgia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during her working career as a military and/or civilian firefighter.

173.   Plaintiff Mary Brannon was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

174.   Plaintiff Neal David Brasfield is a resident and citizen of Canton, Georgia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

175.   Plaintiff Neal David Brasfield was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.




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176.   Plaintiff Joseph Braswell is a resident and citizen of San Bernardino, California. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

177.   Plaintiff Joseph Braswell was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

178.   Plaintiff Willie R. Braxton is a resident and citizen of Houston, Texas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

179.   Plaintiff Willie R. Braxton was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

180.   Plaintiff William Michael Breeden Sr. is a resident and citizen of Thomasville, North

Carolina. Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training

and to extinguish fires during his working career as a military and/or civilian firefighter.

181.   Plaintiff William Michael Breeden Sr. was diagnosed with leukemia as a result of exposure

to Defendants’ AFFF or TOG products.

182.   Plaintiff Milton Ray Brees is a resident and citizen of Yuma, Arizona. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

183.   Plaintiff Milton Ray Brees was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

184.   Plaintiff Claude Jarvis Brehon is a resident and citizen of Manning, South Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.



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185.   Plaintiff Claude Jarvis Brehon was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

186.   Plaintiff Mark Oscar Breitkreutz is a resident and citizen of Angleton, Texas. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

187.   Plaintiff Mark Oscar Breitkreutz was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

188.   Plaintiff Jeffery Bridges is a resident and citizen of Hannibal, Missouri. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

189.   Plaintiff Jeffery Bridges was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

190.   Plaintiff Michael James Briglia is a resident and citizen of Wolcott, Connecticut. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

191.   Plaintiff Michael James Briglia was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

192.   Plaintiff John P. Brinkley Jr. is a resident and citizen of Brooklyn, Maryland. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

193.   Plaintiff John P. Brinkley Jr. was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.




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194.   Plaintiff Scott Brookes is a resident and citizen of Haddam, Connecticut. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

195.   Plaintiff Scott Brookes was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

196.   Plaintiff Joshua Broome is a resident and citizen of Chesapeake, Virginia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

197.   Plaintiff Joshua Broome was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

198.   Plaintiff Herbert Lawrence Broughton Jr. is a resident and citizen of Hampton, Virginia.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

199.   Plaintiff Herbert Lawrence Broughton Jr. was diagnosed with prostate cancer as a result of

exposure to Defendants’ AFFF or TOG products.

200.   Plaintiff David Broussard is a resident and citizen of New Orleans, Louisiana. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

201.   Plaintiff David Broussard was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

202.   Plaintiff Curtis Brown is a resident and citizen of Lagrange, Georgia. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.



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203.   Plaintiff Curtis Brown was diagnosed with liver cancer as a result of exposure to

Defendants’ AFFF or TOG products.

204.   Plaintiff Floyd Brown is a resident and citizen of Phoenix, Arizona. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

205.   Plaintiff Floyd Brown was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

206.   Plaintiff Jason Brown is a resident and citizen of Cleveland, Ohio. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

207.   Plaintiff Jason Brown was diagnosed with kidney cancer as a result of exposure to

Defendants’ AFFF or TOG products.

208.   Plaintiff Jerome Brown is a resident and citizen of Farmville, Virginia. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

209.   Plaintiff Jerome Brown was diagnosed with testicular cancer as a result of exposure to

Defendants’ AFFF or TOG products.

210.   Plaintiff Johnnie Lee Brown is a resident and citizen of White Hall, Arkansas. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

211.   Plaintiff Johnnie Lee Brown was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.




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212.   Plaintiff Samuel Antonio Brown is a resident and citizen of Johns Island, South Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

213.   Plaintiff Samuel Antonio Brown was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

214.   Plaintiff Timothy J. Brown is a resident and citizen of Salem, New Jersey. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

215.   Plaintiff Timothy J. Brown was diagnosed with ulcerative colitis as a result of exposure to

Defendants’ AFFF or TOG products.

216.   Plaintiff Vincent Paul Brown is a resident and citizen of Bronx, New York. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

217.   Plaintiff Vincent Paul Brown was diagnosed with thyroid disease as a result of exposure

to Defendants’ AFFF or TOG products.

218.   Plaintiff Webb Brown is a resident and citizen of Ty Ty, Georgia. Plaintiff regularly used,

and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during his

working career as a military and/or civilian firefighter.

219.   Plaintiff Webb Brown was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

220.   Plaintiff Dean Bruch is a resident and citizen of Zionsville, Pennsylvania. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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221.   Plaintiff Dean Bruch was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

222.   Plaintiff George L. Brzeczek is a resident and citizen of Yuma, Arizona. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

223.   Plaintiff George L. Brzeczek was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

224.   Plaintiff Rafael Eugene Bueno is a resident and citizen of Virginia Beach, Virginia.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

225.   Plaintiff Rafael Eugene Bueno was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

226.   Plaintiff Bradley Buhr is a resident and citizen of Superior, Wisconsin. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

227.   Plaintiff Bradley Buhr was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

228.   Plaintiff Michael Burdych is a resident and citizen of Baltimore, Maryland. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

229.   Plaintiff Michael Burdych was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.




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230.   Plaintiff Peter J Burgert is a resident and citizen of Aurora, Illinois. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

231.   Plaintiff Peter J Burgert     was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

232.   Plaintiff Richard Eric Burks is a resident and citizen of San Jacinto, California. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

233.   Plaintiff Richard Eric Burks was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

234.   Plaintiff Salvatore A D Burrello is a resident and citizen of Greenwood, Indiana. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

235.   Plaintiff Salvatore A D Burrello was diagnosed with prostate cancer as a result of exposure

to Defendants’ AFFF or TOG products.

236.   Plaintiff James Burris is a resident and citizen of Louisville, Kentucky. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

237.   Plaintiff James Burris was diagnosed with bladder cancer as a result of exposure to

Defendants’ AFFF or TOG products.

238.   Plaintiff Gary Ervin Burriss is a resident and citizen of Elizabethtown, Indiana. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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239.   Plaintiff Gary Ervin Burriss was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

240.   Plaintiff Keith Bursey is a resident and citizen of Texarkana, Arkansas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

241.   Plaintiff Keith Bursey was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

242.   Plaintiff Matthew W. Buss is a resident and citizen of Fond Du Lac, Wisconsin. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

243.   Plaintiff Matthew W. Buss was diagnosed with thyroid disease as a result of exposure to

Defendants’ AFFF or TOG products.

244.   Plaintiff Edward James Butler is a resident and citizen of Moncks Corner, South Carolina.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

245.   Plaintiff Edward James Butler was diagnosed with prostate cancer as a result of exposure

to Defendants’ AFFF or TOG products.

246.   Plaintiff Clarence Bynes Jr is a resident and citizen of Quincy, Florida. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

247.   Plaintiff Clarence Bynes Jr was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.




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248.   Plaintiff Larry Muryl Byrge is a resident and citizen of Mc Kees Rocks, Pennsylvania.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

249.   Plaintiff Larry Muryl Byrge was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

250.   Plaintiff John Robert Cahill is a resident and citizen of Dayton, Ohio. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

251.   Plaintiff John Robert Cahill was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

252.   Plaintiff George R. Caldwell Jr. is a resident and citizen of Lenoir City, Tennessee. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

253.   Plaintiff George R. Caldwell Jr. was diagnosed with non-hodgkin's lymphoma as a result

of exposure to Defendants’ AFFF or TOG products.

254.   Plaintiff Paul W. Callahan is a resident and citizen of Trappe, Maryland. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

255.   Plaintiff Paul W. Callahan was diagnosed with non-hodgkin's lymphoma as a result of

exposure to Defendants’ AFFF or TOG products.

256.   Plaintiff Stephen J. Callahan is a resident and citizen of Las Vegas, Nevada. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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257.   Plaintiff Stephen J. Callahan was diagnosed with lymphoma as a result of exposure to

Defendants’ AFFF or TOG products.

258.   Plaintiff Eric Mitchell Campbell is a resident and citizen of Springfield, Tennessee.

Plaintiff regularly used, and was thereby directly exposed to, AFFF and TOG in training and to

extinguish fires during his working career as a military and/or civilian firefighter.

259.   Plaintiff Eric Mitchell Campbell was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

260.   Plaintiff Michael W. Campbell is a resident and citizen of Claremore, Oklahoma. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

261.   Plaintiff Michael W. Campbell was diagnosed with kidney cancer as a result of exposure

to Defendants’ AFFF or TOG products.

262.   Plaintiff Terrance D. Campbell is a resident and citizen of Cleveland, Ohio. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

263.   Plaintiff Terrance D. Campbell was diagnosed with kidney cancer as a result of exposure

to Defendants’ AFFF or TOG products.

264.   Plaintiff William Campbell is a resident and citizen of Stanton, Kentucky. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

265.   Plaintiff William Campbell was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.




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266.   Plaintiff Gerardo Cantu is a resident and citizen of San Antonio, Texas. Plaintiff regularly

used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish fires during

his working career as a military and/or civilian firefighter.

267.   Plaintiff Gerardo Cantu was diagnosed with prostate cancer as a result of exposure to

Defendants’ AFFF or TOG products.

268.   Plaintiff Lee Forrest Cappis is a resident and citizen of Norfolk, Virginia. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

269.   Plaintiff Lee Forrest Cappis was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

270.   Plaintiff Edwin J. Carazo Jr. is a resident and citizen of Baton Rouge, Louisiana. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

271.   Plaintiff Edwin J. Carazo Jr. was diagnosed with leukemia as a result of exposure to

Defendants’ AFFF or TOG products.

272.   Plaintiff William Cardinal is a resident and citizen of Cambridge, Vermont. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.

273.   Plaintiff William Cardinal was diagnosed with pancreatic cancer as a result of exposure

to Defendants’ AFFF or TOG products.

274.   Plaintiff Douglas Carlson is a resident and citizen of Minneapolis, Minnesota. Plaintiff

regularly used, and was thereby directly exposed to, AFFF and TOG in training and to extinguish

fires during his working career as a military and/or civilian firefighter.



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275.    Plaintiff Douglas Carlson was diagnosed with ulcerative colitis as a result of exposure to

Defendants’ AFFF or TOG products.

276.    Defendants are designers, marketers, developers, manufacturers, distributors, releasers,

instructors, promotors and sellers of PFAS-containing AFFF products or underlying PFAS

containing chemicals used in AFFF production. The following Defendants, at all times relevant

to this lawsuit, manufactured, designed, marketed, distributed, released, instructed, promoted

and/or otherwise sold (directly or indirectly) PFAS-containing AFFF products to various locations

for use in fighting Class B fires such that each Defendant knew or should have known said products

would be delivered to areas for active use by Plaintiffs during the course of training and firefighting

activities.

277.    Defendant, 3M Company, f/k/a Minnesota Mining and Manufacturing Company, (“3M”),

is a Delaware corporation and does business throughout the United States. 3M has its principal

place of business at 3M Center, St. Paul, Minnesota 55133.

278.    3M designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

279.    Defendant AGC Chemicals Americas, Inc. (“AGC”) is a Delaware corporation and does

business throughout the United States. AGC has its principal place of business at 55 E. Uwchlan

Ave., Suite 201, Exton, Pennsylvania 19341.



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280.    AGC designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

281.    Defendant Amerex Corporation (“Amerex”) is an Alabama corporation and does business

throughout the United States. Amerex has its principal place of business at 7595 Gadsden

Highway, Trussville, Alabama 35173.

282.    Amerex designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

283.    Defendant Archroma U.S. Inc. (“Archroma”) is a North Carolina company and does

business throughout the United States. Archroma has its principal place of business at 5435 77

Center Drive, #10 Charlotte, North Carolina 28217. Upon information and belief, Archroma was

formed in 2013 as part of the acquisition of Clariant Corporation’s Textile Chemicals, Paper

Specialties and Emulsions business by SK Capital Partners.




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284.    Archroma designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

285.    Defendant Arkema, Inc. (“Arkema”) is a Pennsylvania corporation and does business

throughout the United States. Arkema has its principal place of business at 900 1st Avenue, King

of Prussia, Pennsylvania 19406. Upon information and belief, assets of Arkema’s fluorochemical

business were purchased by Defendant Dupont in 2002.

286.    Arkema designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

287.    Defendant BASF Corporation (“BASF”) is a Delaware corporation and does business

throughout the United States. BASF has its principal place of business at 100 Park Avenue,

Florham Park, New Jersey 07932.

288.    BASF designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, sold and/or otherwise handled and/or used AFFF containing



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PFAS that are used in firefighting training and response exercises which are the subject of this

Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

289.    Defendant Buckeye Fire Equipment Company (“Buckeye”) is an Ohio corporation and

does business throughout the United States. Buckeye has its principal place of business at 110

Kings Road, Mountain, North Carolina 28086.

290.    Buckeye designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

291.    Defendant Carrier Global Corporation (“Carrier”) is a Delaware corporation and does

business throughout the United States. Carrier has its principal place of business at 13995 Pasteur

Boulevard, Palm Beach Gardens, Florida 33418. Upon information and belief, Carrier was formed

in 2020 and is the parent company of Kidde-Fenwal, Inc., a manufacturer of AFFF.

292.    Carrier designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,



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released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

293.    Defendant ChemDesign Products, Inc. (“ChemDesign”) is a Texas corporation and does

business throughout the United States. ChemDesign has its principal place of business at 2 Stanton

Street, Marinette, Wisconsin 54143.

294.    ChemDesign designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

295.    Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation and does business

throughout the United States. Chemguard has its principal place of business at One Stanton Street,

Marinette, Wisconsin 54143.

296.    Chemguard designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.



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297.   Defendant Chemicals, Inc. (“Chemicals”) is a Texas corporation and does business

throughout the United States. Chemicals has its principal place of business at 12321 Hatcherville

Road, Baytown, Texas 77521.

298.   Chemicals designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

299.   Defendant Chemours Company FC, LLC (“Chemours FC”), is a Delaware corporation and

does business throughout the United States. Chemours has its principal place of business at 1007

Market Street, Wilmington, Delaware 19899. Chemours FC is a subsidiary of The Chemours

Company.

300.   Chemours FC designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

301.   Defendant Clariant Corporation (“Clariant”) is a New York corporation and does business

throughout the United States. Clariant has its principal place of business at 4000 Monroe Road,

Charlotte, North Carolina 28205.



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302.    Clariant designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

303.    Defendant Corteva, Inc. (“Corteva”) is a Delaware Corporation that conducts business

throughout the United States. Its principal place of business is Chestnut Run Plaza 735,

Wilmington, Delaware 19805. Corteva is the successor-in-interest to Dupont Chemical Solutions

Enterprise.

304.    Corteva designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, sold, and/or otherwise handled and/or used AFFF containing

PFAS that are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

305.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a Delaware corporation and does

business throughout the United States. Deepwater’s principal place of business is at 196122 E

County Road 735, Woodward, Oklahoma 73801.

306.    Deepwater designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the



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subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

307.   Defendant Du Pont de Nemours Inc. (f/k/a DowDuPont, Inc.) (“DowDuPont”), is a

Delaware corporation and does business throughout the United States. DowDuPont, has its

principal place of business at 1007 Market Street, Wilmington, Delaware 19899 and 2211 H.H.

Dow Way, Midland, Michigan 48674. DowDupont was created in 2015 to transfer Chemours and

DuPont liabilities for manufacturing and distributing flurosurfactants to AFFF manufacturers.

308.   DowDuPont designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

309.   Defendant Dynax Corporation (“Dynax”) is a New York corporation that conducts

business throughout the United States. Its principal place of business is 103 Fairview Park Drive,

Elmsford, New York, 10523-1544.

310.   Dynax designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, sold, and/or otherwise handled and/or used AFFF containing

PFAS that are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold




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and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

311.   Defendant E. I. du Pont de Nemours and Company (“DuPont”), is a Delaware corporation

and does business throughout the United States. DuPont has its principal place of business at 1007

Market Street, Wilmington, Delaware 19898.

312.   DuPont designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, sold, and/or otherwise handled and/or used AFFF containing

PFAS that are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

313.   Defendant Kidde P.L.C., Inc. (“Kidde P.L.C.”) is a foreign corporation organized and

existing under the laws of the State of Delaware and does business throughout the United States.

Kidde P.L.C. has its principal place of business at One Carrier Place, Farmington, Connecticut

06034. Upon information and belief, Kidde PLC was formerly known as Williams Holdings, Inc.

and/or Williams US, Inc.

314.   Kidde P.L.C. designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.




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315.    Defendant Nation Ford Chemical Company (“Nation Ford”) is a South Carolina company

and does business throughout the United States. Nation Ford has its principal place of business at

2300 Banks Street, Fort Mill, South Carolina 29715.

316.    Nation Ford designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

317.    Defendant National Foam, Inc. (“National Foam”) is a Delaware corporation and does

business throughout the United States. National Foam has its principal place of business at 141

Junny Road, Angier, North Carolina, 27501.

318.    National Foam designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

319.    Defendant The Chemours Company (“Chemours”), is a Delaware corporation and does

business throughout the United States. Chemours has its principal place of business 1007 Market

Street, Wilmington, Delaware 19898. Upon information and belief, Chemours was spun off from

DuPont in 2015 to assume PFAS related liabilities.



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320.   Chemours designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

321.   Defendant Tyco Fire Products, LP, as successor-in-interest to The Ansul Company

(“Tyco”), is a Delaware limited partnership and does business throughout the United States. Tyco

has its principal place of business at 1400 Pennbrook Parkway, Lansdale, Pennsylvania 19466.

Tyco manufactured and currently manufactures the Ansul brand of products, including Ansul

brand AFFF containing PFAS.

322.   Tyco is the successor in interest to the corporation formerly known as The Ansul Company

(“Ansul”). At all times relevant, Tyco/Ansul designed, marketed, developed, manufactured,

distributed released, trained users, produced instructional materials, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response exercises

which are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

323.   Defendant United Technologies Corporation (“United Technologies”) is a foreign

corporation organized and existing under the laws of the State of Delaware and does business

throughout the United States. United Technologies has its principal place of business at 8 Farm

Springs Road, Farmington, Connecticut 06032.



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324.   United Technologies designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

325.   Defendant UTC Fire & Security Americas Corporation, Inc. (f/k/a GE Interlogix, Inc.)

(“UTC”) is a North Carolina corporation and does business throughout the United States. UTC has

principal place of business at 3211 Progress Drive, Lincolnton, North Carolina 28092. Upon

information and belief, Kidde-Fenwal, Inc. is part of the UTC Climate Control & Security unit of

United Technologies Corporation.

326.   UTC designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, sold, and/or otherwise handled and/or used AFFF containing

PFAS that are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

327.   Defendant Allstar Fire Equipment is a California corporation (“Allstar”) and does business

throughout the United States. Allstar has its principal place of business at 12328 Lower Azusa

Road, Arcadia, California 91006.

328.   Allstar developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.




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329.   Defendant Fire-Dex, LLC (“Fire-Dex”) is a Delaware corporation and does business

throughout the United States. Fire-Dex has its principal place of business at 780 South Progress

Drive, Medina, Ohio 44256.

330.   Fire-Dex developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

331.   Defendant Globe Manufacturing Company LLC (“Globe”) is a New Hampshire

corporation and does business throughout the United States. Globe has its principal place of

business at 37 Loudon Road, Pittsfield, New Hampshire 03263.

332.   Globe developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

333.   Defendant Honeywell Safety Products USA, Inc. (“Honeywell”) is a Delaware corporation

and does business throughout the United States. Honeywell has its principal place of business at

300 South Tryon Street Suite 500, Charlotte, North Carolina 28202.

334.   Honeywell developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

335.   Defendant Lion Group, Inc. (“Lion”) is an Ohio corporation and does business throughout

the United States. Lion has its principal place of business at 7200 Poe Avenue, Suite 400 Dayton,

Ohio, 45414.

336.   Lion developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

337.   Defendant Mallory Safety and Supply LLC. (“Mallory”) is a Washington corporation and

does business throughout the United States. Mallory has its principal place of business at 1040

Industrial Way, Longview, Washington, 98632.



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338.   Mallory developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

339.   Defendant Mine Safety Appliances Co., Inc. (“MSA”) is a Pennsylvania corporation and

does business throughout the United States. MSA has its principal place of business at 1000

Cranberry Woods Drive, Cranberry Township, Pennsylvania, 16066.

340.   MSA developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

341.   Defendant Municipal Emergency Services, Inc. (“MES”) is a Nevada corporation and does

business throughout the United States. MES has its principal place of business at 12 Turnberry

Lane, Sandy Hook, Connecticut 06482.

342.   MES developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

343.   Defendant PBI Performance Products, Inc. (“PBI”) is a Delaware corporation and does

business throughout the United States. PBI has its principal place of business at 9800-D Southern

Pine Boulevard, Charlotte, North Carolina 28273.

344.   PBI developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

345.   Defendant Southern Mills, Inc. (“Southern Mills”) is a Georgia corporation and does

business throughout the United States. Southern Mills has its principal place of business at 6501

Mall Boulevard, Union City, Georgia 30291.

346.   Southern Mills developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.




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347.   Defendant Stedfast USA, Inc. (“Stedfast”) is a Delaware corporation and does business

throughout the United States. Stadfast has its principal place of business at 800 Mountain View

Drive, Piney Flats, Tennessee 37686.

348.   Stedfast developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

349.   Defendant W.L. Gore & Associates Inc. (“Gore”) is a Delaware corporation and does

business throughout the United States. Gore has its principal place of business at 1901 Barksdale

Road, Newark, Delaware 19711.

350.   Gore developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

351.   When reference is made in this Complaint to any act or omission of any of the Defendants,

it shall be deemed that the officers, directors, agents, employees, or representatives of the

Defendants committed or authorized such act or omission, or failed to adequately supervise

or properly control or direct their employees while engaged in the management, direction,

operation, or control of the affairs of Defendants, and did so while acting within the scope of their

duties, employment or agency.

352.   The term “AFFF Defendant” or “AFFF Defendants” refers to all Defendants named herein

who designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used AFFF containing

PFAS that are used in firefighting training and response exercises which are the subject of this

Complaint. jointly and severally, unless otherwise stated.




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353.   The term “TOG Defendant” or “TOG Defendants” refers to all Defendants names herein

who developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS

materials, and products containing PFAS in turnout gear for use in firefighting.

                                  FACTUAL ALLEGATIONS

354.   Aqueous Film-Forming Foam (“AFFF”) is a combination of chemicals used to extinguish

hydrocarbon fuel-based fires.

355.   AFFF-containing fluorinated surfactants have better firefighting capabilities than water

due to their surfactant-tension lowering properties which allow the compound(s) to extinguish fire

by smothering, ultimately starving it of oxygen.

356.   AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish fires

that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

357.   AFFF Defendants designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold, and/or otherwise handled AFFF

containing toxic PFAS or underlying PFAS containing chemicals used in AFFF production that

were used by entities around the country, including military, county, and municipal firefighting

departments.

358.   AFFF Defendants        have    each    designed, marketed,       developed,    manufactured,

distributed, released, trained users on, produced instructional materials for, sold, and/or otherwise

handled and/or used AFFF containing PFAS, in such a way as to cause the contamination of

Plaintiffs’ blood and/or body with PFAS, and the resultant biopersistence and bioaccumulation of

such PFAS in the blood and/or body of Plaintiffs.




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359.    AFFF was introduced commercially in the mid-1960s and rapidly became the primary

firefighting foam in the United States and in other parts of the world. It contains PFAS, which are

highly fluorinated synthetic chemical compounds whose family include PFOS and PFOA.

360.    PFAS are a family of chemical compounds containing fluorine and carbon atoms.

361.    PFAS have been used for decades in the manufacture of AFFF. The PFAS family of

chemicals are entirely human-made and do not naturally occur or otherwise exist.

362.    Prior to commercial development and large-scale manufacture and use of AFFF containing

PFAS, no such PFAS had been found or detected in human blood.

        A.     AFFF / PFAS Hazardous Effects on Humans

363.    AFFF and its components are associated with a wide variety of adverse health effects in

humans.

364.    Exposure to AFFF Defendants’ products has been linked to serious medical conditions

including, but not limited to, kidney cancer, testicular cancer, liver cancer, testicular tumors,

pancreatic cancer, prostate cancer, leukemia, lymphoma, bladder cancer, thyroid disease and

infertility.

365.    By at least the end of the 1960s, animal toxicity testing performed by some Defendants

manufacturing and/or using PFAS indicated that exposure to such materials, including at least

PFOA, resulted in various adverse health effects among multiple species of laboratory animals,

including toxic effects to the liver, testes, adrenals, and other organs and bodily systems.

366.    By at least the end of the 1960s, additional research and testing performed by some

Defendants manufacturing and/or using PFAS indicated that such materials, including at least

PFOA, because of their unique chemical structure, were resistant to environmental degradation

and would persist in the environment essentially unaltered if allowed to enter the environment.

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367.   By at least the end of the 1970s, additional research and testing performed by some

Defendants manufacturing and/or using PFAS indicated that one or more such materials, including

at least PFOA and PFOS, because of their unique chemical structure, would bind to proteins in the

blood of animals and humans exposed to such materials where such materials would remain and

persist over long periods of time and would accumulate in the blood/body of the exposed

individuals with each additional exposure.

368.   By at least the end of the 1980s, additional research and testing performed by some

Defendants manufacturing and/or using PFAS indicated that at least one such PFAS, PFOA, had

caused Leydig cell (testicular) tumors in a chronic cancer study in rats, resulting in at least one

such Defendant, DuPont, classifying such PFAS internally as a confirmed animal carcinogen and

possible human carcinogen.

369.   It was understood by AFFF Defendants by at least the end of the 1980s that a chemical that

caused cancer in animal studies must be presumed to present a cancer risk to humans, unless the

precise mechanism of action by which the tumors were caused was known and would not occur in

humans.

370.   By at least the end of the 1980s, scientists had not determined the precise mechanism of

action by which any PFAS caused tumors. Therefore, scientific principles of carcinogenesis

classification mandated AFFF Defendants presume any such PFAS material that caused tumors in

animal studies could present a potential cancer risk to exposed humans.

371.   By at least the end of the 1980s, additional research and testing performed by some

Defendants manufacturing and/or using PFAS, including at least DuPont, indicated that elevated

incidence of certain cancers and other adverse health effects, including elevated liver enzymes and

birth defects, had been observed among workers exposed to such materials, including at least



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PFOA, but such data was not published, provided to governmental entities as required by law, or

otherwise publicly disclosed at the time.

372.   By at least the end of the 1980s, some Defendants, including at least 3M and DuPont,

understood that, not only did PFAS, including at least PFOA and PFOS, get into and persist and

accumulate in the human blood and in the human body, but that once in the human body and blood,

particularly the longer-chain PFAS, such as PFOS and PFOA, had a long half-life. Meaning that

it would take a very long time before even half of the material would start to be eliminated, which

allowed increasing levels of the chemicals to build up and accumulate in the blood and/or body of

exposed individuals over time, particularly if any level of exposure continued.

373.   By at least the end of the 1990s, additional research and testing performed by some

Defendants manufacturing and/or using PFAS, including at least 3M and DuPont, indicated that

at least one such PFAS, PFOA, had caused a triad of tumors (Leydig cell (testicular), liver, and

pancreatic) in a second chronic cancer study in rats.

374.   By at least the end of the 1990s, the precise mechanism(s) of action by which any PFAS

caused each of the tumors found in animal studies had still not been identified, mandating that

AFFF Defendants continue to presume that any such PFAS that caused such tumors in animal

studies could present a potential cancer risk to exposed humans.

375.   By at least 2010, additional research and testing performed by some Defendants

manufacturing and/or using PFAS, including at least 3M and DuPont, revealed multiple potential

adverse health impacts among workers exposed to such PFAS, including at least PFOA, such as

increased cancer incidence, hormone changes, lipid changes, and thyroid and liver impacts.

376.   When the United States Environmental Protection Agency (“USEPA”) and other state and

local public health agencies and officials first began learning of PFAS exposure in the United



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States and potential associated adverse health effects, AFFF Defendants repeatedly assured and

represented to such entities and the public that such exposure presented no risk of harm and were

of no significance.

377.   After the USEPA and other entities began asking Defendants to stop manufacturing and/or

using certain PFAS, AFFF Defendants began manufacturing and/or using and/or began making

and/or using more of certain other and/or “new” PFAS, including PFAS materials with six or fewer

carbons, such as GenX (collectively “Short-Chain PFAS”).

378.   AFFF Defendants manufacturing and/or using Short-Chain PFAS, including at least

DuPont and 3M, are aware that one or more such Short-Chain PFAS materials also have been

found in human blood.

379.   By at least the mid-2010s, AFFF Defendants, including at least DuPont and Chemours,

were aware that at least one Short-Chain PFAS had been found to cause the same triad of tumors

(Leydig (testicular), liver, and pancreatic) in a chronic rat cancer study as had been found in a

chronic rat cancer study with a non-Short-Chain PFAS.

380.   Research and testing performed by and/or on behalf of AFFF Defendants making and/or

using Short-Chain PFAS indicates that such Short-Chain PFAS materials present the same, similar,

and/or additional risks to human health as had been found in research on other PFAS materials,

including cancer risk.

381.   Nevertheless, AFFF Defendants repeatedly assured and represented to governmental

entities and the public (and continue to do so) that the presence of PFAS, including Short-Chain

PFAS, in human blood at the levels found within the United States present no risk of harm and is

of no legal, toxicological, or medical significance of any kind.




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382.    At all relevant times, AFFF Defendants, individually and/or collectively, possessed the

resources and ability but have intentionally, purposefully, recklessly, and/or negligently chosen

not to fund or sponsor any study, investigation, testing, and/or other research of any kind of the

nature that AFFF Defendants claim is necessary to confirm and/or prove that the presence of any

one and/or combination of PFAS in human blood causes any disease and/or adverse health impact

of any kind in humans, presents any risk of harm to humans, and/or is of any legal, toxicological,

or medical significance to humans, according to standards AFFF Defendants deem acceptable.

383.    Even after an independent science panel, known as the “C8 Science Panel,” publicly

announced in the 2010s that human exposure to 0.05 parts per billion or more of one PFAS, PFOA,

had “probable links” with certain human diseases, including kidney cancer, testicular cancer,

ulcerative colitis, thyroid disease, preeclampsia, and medically-diagnosed high cholesterol, AFFF

Defendants repeatedly assured and represented to governmental entities, their customers, and the

public (and continue to do so) that the presence of PFAS in human blood at the levels found within

the United States presents no risk of harm and is of no legal, toxicological, or medical significance

of any kind, and have represented to and assured such governmental entities, their customers, and

the public (and continue to do so) that the work of the independent C8 Science Panel was

inadequate.

384.    At all relevant times, AFFF Defendants shared and/or should have shared among

themselves all relevant information relating to the presence, biopersistence, and bioaccumulation

of PFAS in human blood and associated toxicological, epidemiological, and/or other adverse

effects and/or risks.




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385.    As of the present date, blood serum testing and analysis by AFFF Defendants, independent

scientific researchers, and/or government entities has confirmed that PFAS materials are clinically

demonstrably present in approximately 99% of the current population of the United States.

386.    There is no naturally-occurring “background,” normal, and/or acceptable level or rate of

any PFAS in human blood, as all PFAS detected and/or present in human blood is present and/or

detectable in such blood as a direct and proximate result of the acts and/or omissions of

Defendants.

387.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

risks associated therewith, effectively preventing Plaintiffs from discovering the existence and

extent of any injuries/harm as alleged herein.

388.    At all relevant times, Defendants, through their acts and/or omissions, took steps to attack,

challenge, discredit, and/or otherwise undermine any scientific studies, findings, statements,

and/or other information that proposed, alleged, suggested, or even implied any potential adverse

health effects or risks and/or any other fact of any legal, toxicological, or medical significance

associated with the presence of PFAS in human blood.

389.    At all relevant times, Defendants, through their acts and/or omissions, concealed and/or

withheld information from their customers, governmental entities, and the public that would have

properly and fully alerted Plaintiffs to the legal, toxicological, medical, or other significance and/or

risk from having any PFAS material in Plaintiffs’ blood.




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390.   At all relevant times, Defendants encouraged the continued and even further increased use

of PFAS by their customers and others, including but not limited to the manufacture, use, and

release, of AFFF containing PFAS and/or emergency responder protection gear or equipment

coated with materials made with or containing PFAS, and tried to encourage and foster the

increased and further use of PFAS in connection with as many products/uses/and applications

as possible, despite knowledge of the toxicity, persistence, and bioaccumulation concerns

associated with such activities.

391.   To this day, Defendants deny that the presence of any PFAS in human blood, at any level,

is an injury or presents any harm or risk of harm of any kind, or is otherwise of any legal,

toxicological, or medical significance.

392.   To this day, Defendants deny that any scientific study, research, testing, or other work of

any kind has been performed that is sufficient to suggest to the public that the presence of any

PFAS material in human blood, at any level, is of any legal, toxicological, medical, or other

significance.

393.   Defendants, to this day, affirmatively assert and represent to governmental entities,

their customers, and the public that there is no evidence that any of the PFAS found in human

blood across the United States causes any health impacts or is sufficient to generate an increased

risk of future disease sufficient to warrant diagnostic medical testing, often referring to existing

studies or data as including too few participants or too few cases or incidents of disease to draw

any scientifically credible or statistically significant conclusions.

394.   Defendants were and/or should have been aware, knew and/or should have known,

and/or foresaw or should have foreseen that their design, marketing, development, manufacture,

distribution, release, training and response of users, production of instructional materials, sale



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and/or other handling and/or use of AFFF containing PFAS would result in the contamination of

the blood and/or body of Plaintiffs with PFAS, and the biopersistence and bioaccumulation of such

PFAS in their blood and/or body.

395.   Defendants were and /or should have been aware, or knew and/or should have known,

and/or foresaw or should have foreseen that allowing PFAS to contaminate the blood and/or body

of Plaintiffs would cause injury, irreparable harm, and/or unacceptable risk of such injury and/or

irreparable harm to Plaintiffs.

396.   Defendants did not seek or obtain permission or consent from Plaintiffs before engaging in

such acts and/or omissions that caused, allowed, and/or otherwise resulted in Plaintiffs’ exposure

to AFFF and the contamination of Plaintiffs’ blood and/or body with PFAS materials, and resulting

biopersistence and bioaccumulation of such PFAS in their blood and/or body.

       B.      Defendants’ History of Manufacturing and Selling AFFF

397.   3M began producing PFOS and PFOA by electrochemical fluorination in the 1940s. In the

1960s, 3M used its fluorination process to develop AFFF.

398.   3M manufactured, marketed, and sold AFFF from the 1960s to the early 2000s.

399.   National Foam and Tyco/Ansul began to manufacture, market, and sell AFFF in the 1970s.

400.   Buckeye began to manufacture, market, and sell AFFF in the 2000s.

401.   In 2000, 3M announced it was phasing out its manufacture of PFOS, PFOA, and related

products, including AFFF. 3M, in its press release announcing the phase out, stated “our products

are safe,” and that 3M’s decision was “based on [its] principles of responsible environment

management.” 3M further stated that “the presence of these materials at [] very low levels does

not pose a human health or environmental risk.” In communications with the EPA at that time,




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3M also stated that it had “concluded that…other business opportunities were more deserving of

the company’s energies and attention…”

402.   Following 3M’s exit from the AFFF market, the remaining AFFF Defendants continued to

manufacture and sell AFFF that contained PFAS and/or its precursors.

403.   AFFF Defendants knew their customers warehoused large stockpiles of AFFF. In fact,

AFFF Defendants marketed their AFFF products by touting its shelf-life. Even after AFFF

Defendants fully understood the toxicity of PFAS, and their impacts to the health of humans

following exposure, AFFF Defendants concealed the true nature of PFAS. While AFFF

Defendants phased out production or transitioned to other formulas, they did not instruct their

customers that they should not use AFFF that contained PFAS and/or their precursors. AFFF

Defendants further did not act to get their harmful products off the market.

404.   AFFF Defendants did not warn public entities, firefighter trainees who they knew would

foreseeably come into contact with their AFFF products, or firefighters employed by either civilian

and/or military employers that use of and/or exposure to AFFF Defendants’ products containing

PFAS and/or its precursors would pose a danger to human health

405.   The Plaintiffs directly used, were exposed, and/or were given AFFF to help fight fires on

a regular basis.

406.   The Plaintiffs were never informed that this product was inherently dangerous. Nor were

the Plaintiff warned about the known health risks associated with this product.

407.   The Plaintiffs never received or were told to use any protective gear to guard against the

known dangerous propensities of this product.

408.   AFFF Defendants have known of the health hazards associated with AFFF and/or its

compounds for decades and that in their intended and/or common use would harm human health.



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409.    Information regarding AFFF and its compounds were readily accessible to each of the

above-referenced AFFF Defendants for decades because each is an expert in the field of AFFF

manufacturing and/or the materials needed to manufacture AFFF, and each has detailed

information and understanding about the chemical compounds that form AFFF products.

410.    The AFFF Defendants’ manufacture, distribution and/or sale of AFFF resulted in the

Plaintiffs and other individuals who came in contact with the chemical to develop cancer.

411.    The AFFF Defendants through their manufacturing, distribution and/or sale of AFFF, and

through their involvement and/or participation in the creation of training and instructional

materials and activities, knew, foresaw, and/or should have known and/or foreseen that the

Plaintiffs and those similarly situated would be harmed.

412.    The AFFF Defendants’ products were unreasonably dangerous and the Defendants failed

to warn of this danger.

        C.     PFAS-Containing Turnout Gear

413.    During firefighting training and when responding to fires and performing fire

extinguishment, firefighters wear turnouts that are intended to provide a degree of thermal,

chemical, and biological protection for a firefighter. Turnout gear components include individual

components such as a helmet, hood, jacket, pants and suspenders, boots, and gloves. Each

component of the jacket and pants are made of an outer layer, as well as several inner layers that

include a moisture barrier and thermal liner which are meant to protect the firefighter from ambient

heat.

414.    PFAS chemicals are used in turnout gear to impart heat, water, and stain resistance to the

outer shell and moisture barrier of turnout gear.




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415.    A June 2020 study of turnout gear by researchers at the University of Notre Dame analyzed

30 new and used turnout jackets and pants originally marketed, distributed and sold in 2008, 2014,

and 2017, by six turnout gear makers, including Defendants MSA, Globe, Lion and Honeywell

and found high levels of PFAS in turnout gear worn, used, or handled by firefighters, including

the Firefighter Plaintiffs.

416.    When exposed to heat, PFAS chemicals in the turnouts off-gas, break down, and degrade

into highly mobile and toxic particles and dust, exposing firefighters to PFAS chemicals, particles

and dust, including through skin contact/absorption, ingestion (e.g., hand-to-mouth contact) and/or

inhalation. Further firefighter exposure to these highly mobile and toxic materials occurs through

normal workplace activities, because particles or dust from their turnouts spread to fire vehicles

and fire stations, as well as firefighters’ personal vehicles and homes.

417.    Such workplace exposure to PFAS or PFAS-containing materials has been found to be

toxic to humans. As far back as a July 31, 1980 internal memo, DuPont officials described

measures that were needed to prevent workplace exposure to PFOA, which they knew could

permeate all protective materials, and noted that PFOA’s toxicity varied depending on the

exposure pathway, acknowledging that ingestion was “slightly toxic,” dermal contact was “slightly

to moderately toxic” and inhalation was “highly toxic.” The memo concluded “continued exposure

is not tolerable.”

418.    As alleged herein, the Firefighter Plaintiffs wear and/or wore turnouts in the ordinary

course of performing their duties, as the turnouts were intended to be used and in a foreseeable

manner, which exposed them to significant levels of PFAS.

419.    The Firefighter Plaintiffs did not know, and in the exercise of reasonable diligence could

not have known, that the turnouts they wore or used in the course of performing their duties



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contained PFAS or PFAS-containing materials, and similarly did not know and could not have

known that they routinely suffered exposure to PFAS or PFAS-containing materials in the turnouts

they wore or used in performing their duties. The turnout gear worn or used by the Firefighter

Plaintiffs did not and does not contain labeling information saying that the gear contains PFAS,

and similarly did not and does not warn the Firefighter Plaintiffs of the health risks associated with

exposure to PFAS.

420.   Like fire departments across the country, many Plaintiffs only had one set of turnouts for

years, and would wash their turnouts at home and/or in station machines along with their daily

station wear uniforms.




                                      CAUSES OF ACTION

                                   COUNT I – NEGLIGENCE

421.   Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

422.   Defendants had a duty to individuals, including the Plaintiffs, to exercise reasonable

ordinary, and appropriate care in the manufacturing, design, labeling, packaging, testing,

instruction, warning, selling, marketing, distribution, and training related to the AFFF or TOG

product.

423.   Defendants breached their duty of care and were negligent, grossly negligent, reckless and

willful as described herein in the design, manufacture, labeling, warning, instruction, training,

selling, marketing, and distribution of the AFFF or TOG products or underlying PFAS containing

chemicals used in AFFF or TOG production in one or more of the following respects:




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   a. Failing to design the products so as to avoid an unreasonable risk of harm to individuals,
      including the Plaintiffs;

   b. Failing to use reasonable care in the testing of the products so as to avoid an unreasonable
      risk of harm to individuals, including the Plaintiffs;

   c. Failing to use appropriate care in inspecting the products so as to avoid an unreasonable
      risk of harm to individuals, including the Plaintiffs;

   d. Failing to use appropriate care in instructing and/or warning the public as set forth herein
      of risks associated with the products, so as to avoid unreasonable risk of harm to
      individuals, including the Plaintiffs;

   e. Failing to use reasonable care in marketing, promoting, and advertising the products so as
      to avoid unreasonable risk of harm to individuals, including the Plaintiffs;

   f. Otherwise negligently or carelessly designing, manufacturing, marketing, distributing,
      warning; and

   g. In selling and or distributing a product which was inherently dangerous to the public;

424.   As a direct and proximate result of Defendants’ negligence, the Plaintiffs have been

injured, sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment

of life, loss of care, comfort, economic loss and damages including, but not limited to medical

expenses, lost income, and/or other damages.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                                     COUNT II – BATTERY

425.   Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

426.   At all relevant times, Defendants possessed knowledge that the AFFF or TOG containing

PFAS which they designed, engineered, manufactured, fabricated, sold, handled, released,


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trained users on, produced instructional materials for, used, and/or distributed were bio-

persistent, bio- accumulative, toxic, potentially carcinogenic, and/or otherwise harmful/injurious

and that their continued manufacture, use, sale, handling, release, and distribution would result in

Plaintiffs having PFAS in Plaintiffs’ blood, and the biopersistence and bioaccumulation of such

PFAS in Plaintiffs’ blood.

427.   However, despite possessing such knowledge, Defendants knowingly, purposefully,

and/or intentionally continued to engage in such acts and/or omissions, including but not limited

to all such acts and/or omissions described in this Complaint, that continued to result in Plaintiffs

accumulating PFAS in Plaintiffs’ blood and/or body, and such PFAS persisting and accumulating

in Plaintiffs’ blood and/or body.

428.   Defendants did not seek or obtain permission or consent from Plaintiffs to put or allow

PFAS materials into Plaintiffs’ blood and/or body, or to persist in and/or accumulate in Plaintiffs’

blood and/or body.

429.   Entry into, persistence in, and accumulation of such PFAS in Plaintiffs’ body and/or blood

without permission or consent is an unlawful and harmful and/or offensive physical invasion

and/or contact with Plaintiffs’ person and unreasonably interferes with Plaintiffs’ rightful use and

possession of Plaintiffs’ blood and/or body.

430.   At all relevant times, the PFAS present in the blood of Plaintiffs originated from

Defendants’ acts and/or omissions.

431.   Defendants continue to knowingly, intentionally, and/or purposefully engage in acts and/or

omissions that result in the unlawful and unconsented-to physical invasion and/or contact with

Plaintiffs that resulted in persisting and accumulating levels of PFAS in Plaintiffs’ blood.




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432.   Plaintiffs, and any reasonable person, would find the contact at issue harmful and/or

offensive.

433.   Defendants acted intentionally with the knowledge and/or belief that the contact, presence

and/or invasion of PFAS with, onto and/or into Plaintiffs’ blood serum, including its persistence

and accumulation in such serum, was substantially certain to result from those very acts and/or

omissions.

434.   Defendants’ intentional acts and/or omissions resulted directly and/or indirectly in harmful

contact with Plaintiffs’ blood and/or body.

435.   The continued presence, persistence, and accumulation of PFAS in the blood and/or body

of Plaintiffs is offensive, unreasonable, and/or harmful, and thereby constitutes a battery.

436.   The presence of PFAS in the blood and/or body of Plaintiffs altered the structure and/or

function of such blood and/or body parts and resulted in cancer.

437.   As a direct and proximate result of the foregoing acts and omissions, Plaintiffs suffered

physical injury for which Defendants are therefore liable.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                           COUNT III – INADEQUATE WARNING

438.   Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

439.   Defendants knew or should have known:

   a) exposure to AFFF or TOG containing PFAS was hazardous to human health;



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   b) the manner in which they were designing, marketing, developing, manufacturing,
      distributing, releasing, training, instructing, promoting, and selling AFFF or TOG
      containing PFAS was hazardous to human health; and

   c) the manner in which they were designing, marketing, developing, manufacturing,
      marketing, distributing, releasing, training, instructing, promotion and selling AFFF or
      TOG containing PFAS would result in the contamination of Plaintiffs’ blood and/or body
      as a result of exposure.

440.    Defendants had a duty to warn of the hazards associated with AFFF or TOG containing

PFAS entering the blood and/or body of Plaintiffs because they knew of the dangerous, hazardous,

and toxic properties of AFFF or TOG containing PFAS. Defendants failed to provide sufficient

warning to purchasers that the use of their AFFF or TOG products would cause PFAS to be

released and cause the exposure and bioaccumulation of these toxic chemicals in the blood and/or

body of Plaintiffs.

441.    Adequate instructions and warnings on the AFFF or TOG containing PFAS could have

reduced or avoided these foreseeable risks of harm and injury to Plaintiffs. If Defendants provided

adequate warnings:

   a) Plaintiffs could have and would have taken measures to avoid or lessen exposure; and

   b) end users and governments could have taken steps to reduce or prevent the release of
      PFASs into the blood and/or body of Plaintiffs. Defendants’ failure to warn was a direct
      and proximate cause of Plaintiffs’ injuries from PFAS that came from the use, storage, and
      disposal of AFFF or TOG containing PFAS. Crucially, Defendants’ failure to provide
      adequate and sufficient warnings for the AFFF or TOG containing PFAS they designed,
      marketed, manufactured, distributed, released, promoted, and sold renders the AFFF or
      TOG a defective product.

442.    Defendants were negligent in their failure to provide Plaintiffs with adequate warnings or

instruction that the use of their AFFF or TOG products would cause PFAS to be released into the

blood and/or body of Plaintiffs. As a result of Defendants’ conduct and the resulting

contamination, Plaintiffs suffered severe personal injuries by exposure to AFFF or TOG containing

PFAS.

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443.   Defendants’ negligent failure to warn directly and proximately caused the harm to and

damages suffered by Plaintiffs.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                                COUNT IV – DESIGN DEFECT

444.   Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

445.   Defendants knew or should have known:

   a) exposure to AFFF or TOG containing PFAS is hazardous to human health;

   b) the manner in which AFFF or TOG containing PFAS was designed, manufactured,
      marketed, distributed, and sold was hazardous to human health; and

   c) the manner in which AFFF or TOG containing PFAS was designed, manufactured,
      marketed, distributed, and could and would release PFAS into Plaintiffs and cause the
      exposure and bioaccumulation of these toxic and poisonous chemicals in the blood and/or
      body of Plaintiffs.

446.   Knowing of the dangerous and hazardous properties of the AFFF or TOG containing

PFAS, Defendants could have designed, manufactured, marketed, distributed, and sold alternative

designs or formulations of AFFF or TOG that did not contain hazardous and toxic PFAS. These

alternative designs and formulations were already available, practical, and technologically

feasible. The use of these alternative designs would have reduced or prevented reasonably

foreseeable harm to Plaintiff caused by the Defendants’ design, manufacture, marketing,

distribution, and sale of AFFF or TOG containing hazardous and toxic PFAS.

447.   The AFFF or TOG containing PFAS that was designed, manufactured, marketed,

distributed, and sold by the Defendants was so hazardous, toxic, and dangerous to human health

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that the act of designing, formulating, manufacturing, marketing, distributing, and selling this

AFFF was unreasonably dangerous under the circumstances.

448.    The AFFF or TOG designed, formulated, manufactured, marketed, distributed, and sold by

Defendants was defectively designed and the foreseeable risk of harm could and would have been

reduced or eliminated by the adoption of a reasonable alternative design that was not unreasonably

dangerous. Defendants’ defective design and formulation of AFFF or TOG containing PFAS was

a direct and proximate cause of the contamination of the blood and/or body of Plaintiffs and the

persistence and accumulation of PFAS in Plaintiffs’ blood and/or body.

449.    Defendants’ defective design and formulation of AFFF or TOG containing PFAS caused

the contamination described herein resulting in personal injuries to Plaintiffs. As a direct result of

the harm and injury caused by Defendants’ defective design and the contamination described

herein, Plaintiffs have been exposed to AFFF or TOG containing PFAS and other toxic substances

and has developed cancer.

450.    Defendants’ negligent failure to design a reasonably safe product directly and proximately

caused the harm to and damages suffered by Plaintiffs.

        WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                      COUNT V – STRICT LIABILITY (STATUTORY)

451.    Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

452.    Plaintiffs asserts any and all remedies available under statutory causes of action from

Plaintiffs’ states for strict liability against each Defendant.


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453.    The Defendants were engaged in designing, manufacturing, marketing, selling, and

distribution of AFFF or TOG.

454.    The AFFF or TOG was in a defective condition and unreasonably dangerous to users and/or

consumers when designed, manufactured, marketed, sold, and/or distributed to the public by the

Defendants.

455.    As a direct and proximate result of the Defendants products’ aforementioned defects, the

Plaintiffs have been injured, sustained severe and permanent pain, suffering, disability,

impairment, loss of enjoyment of life, loss of care, comfort, economic loss and damages including,

but not limited to medical expenses, lost income, and other damages.

456.    The Defendants are strictly liable in tort to the Plaintiffs for their wrongful conduct.

        WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                    COUNT VI – STRICT LIABILITY (RESTATEMENT)

457.    Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

458.    The Plaintiffs bring strict product liability claims under the common law, Section 402A of

the Restatement of Torts (Second), and/or Restatement of Torts (Third) against Defendants.

459.    As designed, manufactured, marketed, tested, assembled, equipped, distributed and/or sold

by the Defendants the AFFF or TOG product was in a defective and unreasonably dangerous

condition when put to reasonably anticipated use to foreseeable consumers and users, including

the Plaintiffs.




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460.   The Defendants had available reasonable alternative designs which would have made the

AFFF or TOG product safer and would have most likely prevented the injuries and damages to the

Plaintiffs, thus violating state law and the Restatement of Torts.

461.   The Defendants failed to properly and adequately warn and instruct the Plaintiffs as to the

proper safety and use of the Defendants product.

462.   The Defendants failed to properly and adequately warn and instruct the Plaintiffs regarding

the inadequate research and testing of the product.

463.   The Defendants’ products are inherently dangerous and defective, unfit and unsafe for their

intended and reasonably foreseeable uses, and do not meet or perform to the expectations.

464.   As a proximate result of the Defendants’ design, manufacture, marketing, sale, and

distribution of the products, the Plaintiffs have been injured and sustained severe and permanent

pain, suffering, disability, impairment, loss of enjoyment of life, loss of care, comfort, and

consortium, and economic damages.

465.   By reason of the foregoing, the Defendants are strictly liable for the injuries and damages

suffered by the Plaintiffs, caused by these defects in the AFFF or TOG product.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                      COUNT VII – FRAUDULENT CONCEALMENT

466.   Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

467.   Throughout the relevant time period, Defendants knew that their products were defective

and unreasonably unsafe for their intended purpose.

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468.   Defendants fraudulently concealed from and/or failed to disclose to or warn the Plaintiffs,

and the public that their products were defective, unsafe, and unfit for the purposes intended, and

that they were not of merchantable quality.

469.   Defendants were under a duty to the Plaintiffs and the public to disclose and warn of the

defective and harmful nature of the products because:

   a) Defendants were in a superior position to know the true quality, safety and efficacy of the
      Defendants’ products;

   b) Defendants knowingly made false claims about the safety and quality of the Defendants’
      product in documents and marketing materials; and

   c) Defendants fraudulently and affirmatively concealed the defective nature of the
      Defendants’ products from the Plaintiffs.

470.   The facts concealed and/or not disclosed by Defendants to the Plaintiffs were material facts

that a reasonable person would have considered to be important in deciding whether or not to

purchase and/or use the Defendants’ products.

471.   Defendants intentionally concealed and/or failed to disclose the true defective nature of the

products so that the Plaintiffs would use the Defendants’ products, the Plaintiffs justifiably acted

or relied upon, to Plaintiffs’ detriment, the concealed and/or non-disclosed facts as evidenced by

Plaintiffs’ use of the Defendants’ products.

472.   Defendants, by concealment or other action, intentionally prevented the Plaintiffs from

acquiring material information regarding the lack of safety and effectiveness of the Defendants’

products and are subject to the same liability to the Plaintiffs for Plaintiffs’ pecuniary losses, as

though Defendants had stated the non-existence of such material information regarding the

Defendants’ products’ lack of safety and effectiveness and dangers and defects, and as though

Defendants had affirmatively stated the non-existence of such matters that the Plaintiffs were thus

prevented from discovering the truth. Defendants therefore have liability for fraudulent

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concealment under all applicable laws, including, inter alia, Restatement (Second) of Torts §550

(1977).

473.      As a proximate result of Defendants’ conduct, the Plaintiffs have been injured, and

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

loss of care, comfort, and economic damages.

          WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

           COUNT VIII – BREACH OF EXPRESS AND IMPLIED WARRANTIES

474.      Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

475.      At all times relevant hereto, the Defendants manufactured, marketed, labeled, and sold the

AFFF or TOG products that has been previously alleged and described herein.

476.      At the time the Defendants designed, developed, marketed, sold, labeled, and distributed

the AFFF or TOG products, the Defendants knew of the use for which it was intended, and implied

and/or expressly warranted that the product was merchantable, safe, and fit for its intended

purpose.

477.      The Defendants warranted that the product was merchantable and fit for the particular

purpose for which it was intended and would be reasonably safe. These warranties were breached,

and such breach proximately resulted in the injuries and damages suffered by the Plaintiffs.

478.      The Plaintiffs are within the class of foreseeable users and reasonably relied upon

Defendants' judgment, and the implied and/or express warranties in using the products.




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479.    The Defendants breached their implied and/or express warranties and did not meet the

expectations for the performance of the product when used for its intended use and was neither of

merchantable quality nor safe for its intended use in that the product has a propensity to cause

serious injury, pain, and cancer.

        WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                                    COUNT IX – WANTONNESS

480.    Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

481.    Defendants and their employees, agents, officers, and representatives owed a duty of care

to end users of their AFFF or TOG products, including Plaintiffs.

482.    Defendants breached the duty of care owed to the Plaintiffs.

483.    The actions of Defendants and their employees, agents, officers, and representatives were

willful and wanton and exhibited a reckless disregard for the life, health, and safety of the end

users of Defendants’ AFFF or TOG products, including Plaintiffs.

484.    As a proximate and foreseeable consequent of the actions of Defendants, Plaintiffs were

exposed to unreasonably dangerous toxic PFAS containing AFFF or TOG, which caused

Plaintiffs’ injury.

        WHEREFORE, the Plaintiffs pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                      TOLLING OF THE STATUTE OF LIMITATIONS

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                                      Discovery Rule Tolling

485.    Plaintiffs had no way of knowing about the risk of serious injury associated with the use

of and exposure to PFAS until very recently.

486.    Within the time period of any applicable statute of limitations, Plaintiffs could not have

discovered, through the exercise of reasonable diligence, that exposure to PFAS is harmful to

human health.

487.    Plaintiffs did not discover and did not know of facts that would cause a reasonable person

to suspect the risk associated with the use of and exposure to PFAS; nor would a reasonable and

diligent investigation by Plaintiffs have disclosed that PFAS could cause personal injury.

488.    For these reasons, all applicable statutes of limitations have been tolled by operation of the

discovery rule with respect to Plaintiffs’ claims.

                                Fraudulent Concealment Tolling

489.    All applicable statute of limitations have also been tolled by Defendants knowing and

active fraudulent concealment and denial of the facts alleged herein throughout the time period

relevant to this action.

490.    Instead of disclosing critical safety information regarding AFFF or TOG, Defendants have

consistently and falsely represented the safety of AFFF or TOG products.

491.    This fraudulent concealment continues through present day.

492.    Due to this fraudulent concealment, all applicable statutes of limitations have been tolled

by operation of the discovery rule with respect to Plaintiffs’ claims.

                                              Estoppel

493.    Defendants were under a continuous duty to consumer, end users, and other persons

coming into contact with their products, including Plaintiffs, to accurately provide safety

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information concerning its products and the risk associated with the use of and exposure to AFFF

or TOG.

494.   Instead, Defendants knowingly, affirmatively, and actively concealed safety information

concerning AFFF or TOG and the serious risks associated with the use of and exposure to AFFF

or TOG.

495.   Based on the foregoing, Defendants are estopped from relying on any statute of limitations

in defense of this action.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgments against all Defendants, jointly and severally,

on each of the above-referenced claims and Causes of Action as follows:

       Awarding compensatory damages to Plaintiffs for past and future damages, including but

not limited, to pain and suffering for severe and permanent personal injuries sustained by the

Plaintiffs, health care costs, medical monitoring, together with interest and costs as provided by

law;

       Punitive and/or exemplary damages for the wanton, willful, fraudulent, and/or reckless acts

of the Defendants who demonstrated a complete disregard and reckless indifference for the safety

and welfare of the Plaintiffs and of the general public and to the Plaintiffs in an amount sufficient

to punish Defendants and deter future similar conduct;

       Awarding Plaintiffs attorneys’ fees;

       Awarding Plaintiffs the costs of these proceedings; and

       Such other and further relief as this Court deems just and proper.

                                        JURY DEMAND

       The Plaintiff hereby demands a trial by jury.


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                                    Respectfully Submitted,

                                    ENVIRONMENTAL LITIGATION GROUP, P.C.
                                    /s/ Gregory A. Cade________________
                                    Gregory A. Cade
                                    Gary A. Anderson
                                    Kevin B. McKie
                                    ENVIRONMENTAL LITIGATION GROUP, P.C.
                                    2160 Highland Avenue South
                                    Birmingham, AL 35205
                                    Telephone: 205-328-9200
                                    Facsimile: 205-328-9456

SERVE THE DEFENDANTS AT THE FOLLOWING ADDRESSES BY CERTIFIED
MAIL:

3M COMPANY
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, New Castle, DE 19808

AGC CHEMICALS AMERICAS INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

AMEREX CORPORATION
c/o James M. Proctor II
2900 Highway 280
Suite 300
Birmingham, AL 35223

ARCHROMA U.S. INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

ARKEMA INC.
900 First Avenue
King of Prussia, PA 19406

BASF CORPORATION
c/o The Corporation Trust Company

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Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

BUCKEYE FIRE EQUIPMENT COMPANY
c/o A Haon Corporate Agent, Inc.
29225 Chagrin Blvd, Suite 350
Pepper Pike, OH 44122

CARRIER GLOBAL CORPORATION
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

CHEMDESIGN PRODUCTS INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, New Castle, DE 19808

CHEMGUARD INC.
c/o The Prentice-Hall Corporation System, Inc.
251 Little Falls Drive
Wilmington, New Castle, DE 19808

CHEMICALS, INC.
c/o Ashok K. Moza
12321 Hatcherville
Baytown, TX 77520

CLARIANT CORPORATION
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

CORTEVA, INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

DEEPWATER CHEMICALS, INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

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DUPONT DE NEMOURS, INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

DYNAX CORPORATION
c/o Corporate Systems LLC
3500 S. Dupont Highway
Dover, DE 19901

E.I. DUPONT DE NEMOURS AND COMPANY
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

KIDDE P.L.C.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

NATION FORD CHEMICAL COMPANY
c/o John A. Dickson, IV
2300 Bank Street
Fort Mill, SC 29715

NATIONAL FOAM, INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

THE CHEMOURS COMPANY
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

THE CHEMOURS COMPANY FC, LLC
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

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TYCO FIRE PRODUCTS LP
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

UNITED TECHNOLOGIES CORPORATION
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

UTC FIRE & SECURITY AMERICANS CORPORATION, INC.
c/o Registered Office
15720 Brixham Hill Ave #300
Charlotte, NC 28277

ALLSTAR FIRE EQUIPMENT
c/o Joseph A. Sposato
12328 Lower Azusa Road
Arcadia, CA 91006

FIRE-DEX, LLC
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

GLOBE MANUFACTURING COMPANY LLC
c/o CT Corporation System
2 ½ Beacon Street
Concord, NH 03301

HONEYWELL SAFETY PRODUCTS USA, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

LION GROUP, INC.
c/o QI Services, Inc.
Federal Reserve Building 4th Floor
150 East Fourth Street
Cincinnati, OH 45202

MALLORY SAFETY AND SUPPLY LLC

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c/o Tim Loy
1040 Industrial Way
Longview, WA 98632

MINE SAFETY APPLIANCES CO., LLC
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

MUNICIPAL EMERGENCY SERVICES, INC.
c/o National Registered Agents, Inc.
701 South Carson Street
Suite 200
Carson City, NV 89701

PBI PERFORMANCE PRODUCTS, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

SOUTHERN MILLS, INC.
c/o Mark D. Christman
6501 Mall Boulevard
Union City, GA 30291

STEDFAST USA, INC.
c/o Corpomax Inc.
2915 Ogletown Road
Newark, DE 19713

W.L. GORE & ASSOCIATES INC.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801




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State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       3M COMPANY, C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE, WILMINGTON, NEW CASTLE, DE 19808

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of JOHNNIE WINSTON BUSBY
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
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State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   AGC CHEMICALS AMERICAS INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE
  NOTICE TO:       STREET, WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of JOHNNIE WINSTON BUSBY
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 87 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       AMEREX CORPORATION, C/O JAMES M. PROCTOR II 2900 HIGHWAY 280, SUITE 300, BIRMINGHAM, AL 35223

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 88 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   ARCHROMA U.S. INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                               DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 89 of 121

State of Alabama                                                                                       Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                       01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                 JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       ARKEMA INC., 900 FIRST AVENUE, KING OF PRUSSIA, PA 19406

                                                                (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                   .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                              (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                          /s/ GREGORY A. CADE
                                                                  (Plaintiff's/Attorney's Signature)


                                                     RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                           .
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                                                                  in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                       (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 90 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   BASF CORPORATION, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
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               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 91 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   BUCKEYE FIRE EQUIPMENT COMPANY, C/O A HAON CORPORATE AGENT, INC. 29225 CHAGRIN BLVD, SUITE 350, PEPPER PIKE, OH
  NOTICE TO:       44122
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                                          PROCEDURE TO SERVE PROCESS:
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 92 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   CARRIER GLOBAL CORPORATION, C/O UNITED AGENT GROUP INC. TATNALL BUILDING 104, 3411 SILVERSIDE ROAD, WILMINGTON,
  NOTICE TO:       DE 19810
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

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                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 93 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   CHEMDESIGN PRODUCTS INC., C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DR, WILMINGTON, NEW CASTLE, DE
  NOTICE TO:       19808
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
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                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 94 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   CHEMGUARD INC., C/O THE PRENTICE-HALL CORPORATION SYSTEM, INC. 251 LITTLE FALLS DRIVE, WILMINGTON, NEW CASTLE,
  NOTICE TO:       DE 19808
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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     Return receipt of certified mail received in this office on                                                                          .
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 95 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       CHEMICALS, INC., C/O ASHOK K. MOZA 12321 HATCHERVILLE, BAYTOWN, TX 77520

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of JOHNNIE WINSTON BUSBY
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 96 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       CLARIANT CORPORATION, CORPORATION SERVICE COMPANY 8040 EXCELSIOR DRIVE, SUITE 400, MADISON, WI 53717

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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     Return receipt of certified mail received in this office on                                                                          .
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 97 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   CORTEVA, INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET, WILMINGTON,
  NOTICE TO:       DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


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                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 98 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   DEEPWATER CHEMICALS, INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
               Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 99 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   DUPONT DE NEMOURS, INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                                                         (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 100 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       DYNAX CORPORATION, C/O CORPORATE SYSTEMS LLC 3500 S. DUPONT HIGHWAY, DOVER, DE 19901

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 101 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   E.I. DUPONT DE NEMOURS AND COMPANY, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209
  NOTICE TO:       ORANGE STREET, WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 102 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   KIDDE P.L.C., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET, WILMINGTON, DE
  NOTICE TO:       19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 103 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       NATION FORD CHEMICAL COMPANY, C/O JOHN A. DICKSON, IV 2300 BANK STREET, FORT MILL, SC 29715

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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  Alabama on                                              .
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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 104 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   NATIONAL FOAM, INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of JOHNNIE WINSTON BUSBY
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 105 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   THE CHEMOURS COMPANY, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of JOHNNIE WINSTON BUSBY
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 106 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   THE CHEMOURS COMPANY FC, LLC, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE
  NOTICE TO:       STREET, WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                                                         (Date)
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 107 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   TYCO FIRE PRODUCTS LP, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 108 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   UNITED TECHNOLOGIES CORPORATION, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE
  NOTICE TO:       STREET, WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     this action upon the above-named Defendant.
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 109 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   UTC FIRE & SECURITY AMERICANS CORPORATION, INC., C/O REGISTERED OFFICE 15720 BRIXHAM HILL AVE #300, CHARLOTTE, NC
  NOTICE TO:       28277
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 110 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       ALLSTAR FIRE EQUIPMENT, C/O JOSEPH A. SPOSATO 12328 LOWER AZUSA ROAD, ARCADIA, CA 91006

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 111 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   FIRE-DEX, LLC, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET, WILMINGTON,
  NOTICE TO:       DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 112 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       GLOBE MANUFACTURING COMPANY LLC, C/O CT CORPORATION SYSTEM 2 1/2 BEACON STREET, CONCORD, NH 03301

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
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                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 113 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   HONEYWELL SAFETY PRODUCTS USA, INC., C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE, WILMINGTON, DE
  NOTICE TO:       19808
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                               DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 114 of 121

State of Alabama                                                                                       Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                       01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                 JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       LION GROUP, INC., C/O QI SERVICES, INC. 150 EAST FOURTH STREET, CINCINNATI, OH 45202

                                                                (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                   .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of JOHNNIE WINSTON BUSBY
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                              (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                          /s/ GREGORY A. CADE
                                                                  (Plaintiff's/Attorney's Signature)


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                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                       (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 115 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       MALLORY SAFETY AND SUPPLY LLC, C/O TIM LOY 1040 INDUSTRIAL WAY, LONGVIEW, WA 98632

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
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              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 116 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   MINE SAFETY APPLIANCES CO., LLC, C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE
  NOTICE TO:       STREET, WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
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     this action upon the above-named Defendant.
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 117 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   MUNICIPAL EMERGENCY SERVICES, INC., C/O NATIONAL REGISTERED AGENTS, INC. 701 SOUTH CARSON STREET, SUITE 200,
  NOTICE TO:       CARSON CITY, NV 89701
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                                (Phone Number of Server)
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              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 118 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       PBI PERFORMANCE PRODUCTS, INC., C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE, WILMINGTON, DE 19808

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
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                                                                 in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
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              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 119 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       SOUTHERN MILLS, INC., C/O MARK D. CHRISTMAN 6501 MALL BOULEVARD, UNION CITY, GA 30291

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                     (Date)                                             (Signature of Clerk)                                     (Name)

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                                                                 (Plaintiff's/Attorney's Signature)


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  Alabama on                                              .
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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 120 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
  NOTICE TO:       STEDFAST USA, INC., C/O NATIONAL REGISTERED AGENTS, SAMANTHA SUTTON 300 MONTVUE RD., KNOXVILLE, TN 37919

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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  Alabama on                                              .
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                                                              DOCUMENT 4
              Case 2:23-cv-00782-AMM Document 1-1 Filed 06/14/23 Page 121 of 121

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                      01-CV-2023-901653.00
Form C-34 Rev. 4/2017                                - CIVIL -
                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                JOHNNIE WINSTON BUSBY ET AL V. 3M COMPANY ET AL
                   W.L. GORE & ASSOCIATES INC., C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER, 1209 ORANGE STREET,
  NOTICE TO:       WILMINGTON, DE 19801
                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
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  GREGORY A. CADE                                                                                ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2160 Highland Avenue South, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                05/16/2023                        /s/ JACQUELINE ANDERSON SMITH              By:
                     (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                         /s/ GREGORY A. CADE
                                                                 (Plaintiff's/Attorney's Signature)


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